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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Kinisha Ray,                                         Case No.:

                  Plaintiff,                         COMPLAINT

      vs.
                                                     JURY TRIAL DEMANDED
Mountain Run Solutions, LLC,


                  Defendant.


      NOW COMES THE PLAINTIFF, KINISHA RAY, BY AND THROUGH COUNSEL,

BRIAN J. OLSZEWSKI, and for her Complaint against the Defendant, pleads as follows:

                                       JURISDICTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act (“FDCPA”), 15

      U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.

                                            VENUE

   2. The transactions and occurrences which give rise to this action occurred in Cook County,

      Illinois.

   3. Venue is proper in the Northern District of Illinois, Eastern Division.

                                           PARTIES

   4. Plaintiff is a natural person residing in City of Country Club Hills, Cook County, Illinois.

   5. The Defendant to this lawsuit is Mountain Run Solutions, LLC, which is a Utah Limited

      Liability Company that conducts business in the State of Illinois.




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                           GENERAL ALLEGATIONS

6. Defendant is attempting to collect a consumer type debt allegedly owed by Plaintiff to

   Vivint in the amount of $4,142.00 (“the alleged Debt”).

7. Plaintiff disputes the alleged Debt.

8. On November 21, 2019, Plaintiff obtained her Trans Union credit disclosure and noticed

   Defendant reporting the alleged Debt.

9. On or about December 9, 2019, Plaintiff sent Defendant a letter disputing the alleged

   Debt.

10. On January 27, 2020, Plaintiff obtained her Trans Union credit disclosure,

    which showed that Defendant, in violation of the FDCPA, failed or refused

    to flag the account reflected by the alleged Debt as disputed.

11. In the credit reporting industry, data furnishers, such as the Defendant,

    communicate electronically with the credit bureaus.

12. Defendant had more than ample time to instruct Trans Union to flag its

    trade line as Disputed.

13. Defendant’s inaction to have its trade line on Plaintiff’s credit report

    flagged as disputed was either negligent or willful.

14. Plaintiff suffered pecuniary and emotional damages as a result of

    Defendant’s actions. Her credit report continues to be damaged due to the

    Defendant’s failure to properly report the associated trade line.

      VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

15. Plaintiff reincorporates the preceding allegations by reference.

16. At all relevant times, Defendant, in the ordinary course of its business,



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        regularly engaged in the practice of collecting debts on behalf of other

        individuals or entities.

   17. Plaintiff is a "consumer" for purposes of the FDCPA, and the account at

        issue in this case is a consumer debt.

   18. Defendant is a "debt collector" under the Fair Debt Collection Practices Act

        ("FDCPA"), 15 U.S.C. §1692a(6).

   19. Defendant's foregoing acts in attempting to collect this alleged debt violated

        15 U.S.C. §1692e(8) by communicating to any person credit information,

        which is known to be false or should be known to be false, including failure

        to report a disputed debt as disputed.

   20. To date, and as a direct and proximate cause of the Defendant’s failure to

        honor its statutory obligations under the FDCPA, the Plaintiff has continued

        to suffer from a degraded credit report and credit score.

   21. Plaintiff has suffered economic, emotional, general, and statutory damages

        as a result of Defendant’s violations of the FDCPA.

       WHEREFORE, PLAINTIFF PRAYS that this Honorable Court grant her a judgment

against Defendant for actual damages, statutory damages, costs, interest, and reasonable

attorneys’ fees.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by Jury.




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